                                   0               EXHIBIT A                       ()

                                                                  IN THE CIR~JIT COURT OF THE
                                                                  SEVENTEENTH J1JDICIAL CIRCUIT
                                            COPY                  BROWARD COUNTY, FLORIDA


                                                SEARCH WARRANT


     STATE OF FLORIDA

                                    SS

     COUNTY OF BROWARD


     IN THE NAME OF THE STATE OF FLORIDA TO ALL AND SINGULAR THE SHERIFF AND,
     OR DEPUTY SHERIFF'S OF BROWARD COUNTY IN AND FOR BROWARD COUNTY,
     FLORIDA:


            WHEREAS, Detective JT Williams as a Police Officer for the Sandy Springs Police Department,
     State of Georgia, and Co-affiant Detective Walter Foster #11485 as a Deputy Sheriff for the Broward
     Sheriff's Office, County of Broward, State of Florida, has this day made application before me for a Search

nt   Warrant, said application being suppo1ied by the General Affidavit and Application for Search Warrant of g
     •esidence wherein it is alleged that the Affiants have reason to believe and does believe that in.the premises
     described as:

     2916 Hidden Harbour Court, Fort Lauderdale, Broward County, Florida 33312 is a residence
     (hereafter referred to as "the residence"). The residence is located in the subdivision called The Oaks
     at Hidden Harbour. The entrance to the subdivision is located near the intersection of SW 301h
     Avenue and SW 45<h Street, in Fort Lauderdale, Florida. The residence is an attached townhouse/
     condominium style home. The residence is the last residence attached to the first structure
     encountered when entering the subdivision on Hidden Harbour Court. The residence is on the south
     side of Hidden Harbour Court, with the main (front) entrance of the residence facing north. The
     residence has two stories, with white exterior walls, and a red barrel tile roof. The residence is
     attached to other homes on the west side of the residence, and on the east side is a small walled
     courtyard. In the front of the residence is a two car driveway leading to a two car garage, with a light
     green garage door. Immediately to the east of the garage door is a small brown placard, attached to
     the exterior wall of the residence, with "2916" visible on the placard from the street. To the west of
     the garage door is a narrow stairway which leads to the main entrance of the residence, this door is
     also light green. There is a sliding glass door and a small balcony on the second floor above the garage
     door.


            THAT a felony has been committed, to wit: Murder in the First degree, contrary to F.S. 782.04-lal.
0                                                                        ~· DEFENDANT'S
                                                                        iii EXHIBIT no._,,"lc::f:.,,.....-
                                                                        ~ FOR IDENTIFICJilfuN
                                                                        ~DATE:
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         PAGE TWO
0        SEARCH WARRANT

                 THAT the following grounds for issuance of a Search Warrant, as required by Florida State Statute
         933, exist, to wit: a weapon, instrumentality, or means by which a felony has been committed, or evidence
         relevant to proving said felony has been committed, is contained therein.


                 THAT the following property may be found therein, to wit:

         Any records and/or data for the business's of "Luxury Lineup" and "Regency Auto Sales & Leasing"
         pertaining to the rental and/or lease of vehicles or pertaining to monetary payments made to or from
         the business's to suspected codefendants and/or outside entities who were looking to obtain and/or did
         obtain tracking information on the clients of the business as well. Also, any records and/or data for or
         from GPS Tracker company iMetrik, 740 Notre Dame Street West, suite 1575, Montreal Quebec,
         Canada, H3C3X6 pertaining to the lease, contract, registration, and/or GPS tracking records for the
         following vehicle: white 2012 Audi A-7, VIN: WAUSGAFC1CN003893, GA Tag BZJ-7321.

         "Records" includes any and all papers, documents and electronic storage devices such as cell phones,
         jump drives, external hard drives and computers that may have the information and/or data listed
         contained therein.


    (           NOW THEREFORE, the facts upon which the belief of said Affiants is based as set out in said
         General Affidavit and Application for Search Warrant are hereby deemed sufficient to show probable cause
        for the issuance of a Search Warrant in accordance with the application of said Affiants.



                THESE ARE THEREFORE, to command you, Detective JT Williams of the Sandy Springs
        Police Department and Co-Affiant Detective Walter Foster CCN# 11485 of the Broward Sherifrs
        Office and/or law enforcement officers of the County of Broward, State ofFl01ida, the Sandy Springs Police
        Department and the Drug Enforcement Agency with proper and necessary assistance, to search the aforesaid
        described premises and to search those at the scene who shall be suspected of being connected with
        violation of the law as heretofore stated above, and furthermore seize any and all of the aforesaid property
        found by virtue of such Search Warrant and to b1ing the said property and, or person(s) arrested before me,
        'the Magistrate, or some other comt havingjurisdiction of the offense.



                YOU ARE directed to deliver a duplicate copy of this Search Wanant to Mani Chulpayen or in.his

0        bsence to some person in charge of, or living on the premises.



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n       PAGE THREE
        SEARCH WARRANT


               YOU ARE directed that if property be found and seized by virtue of this Search Warrant, you shall
        deliver to the above person a written inventory of the property taken and a receipt for same, and if no person
        is found in possession of the premises, you shall leave said duplicate copy and receipt on the premises.


               YOU ARE further directed to make return of your actions and doings by virtue 'hereof to the
        undersigned, the Magisti"ate, or some other Court having jurisdiction of the offense within ten (! 0) days
        from the date hereof and to do and report concerning the same as the Jaw furthe; directs.



               AUTHORITY is hereby granted to execute this Warrant in the Daytime/Nighttime or on Sunday.




          GIVEN UNDER MY HAND AND SEAL TIDS                   \CO           day           of~~\
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                                                                     SEVENTEENTH JUDICIAL CIRCUIT
                                                                     BROWARD COUNTY, FLORIDA


                        GENERAL AFFIDAVIT AND APPLICATION FOR SEARCH WARRANT


         STATE OF FLORIDA

                                      SS

        COUNTY OF BROWARD

                                                                       MICHAEL J. ORLANDO
               BEFORE THE UNDERSIGNED, The Honorable                                         Judge, of the Circuit
        Court of the Seventeenth Judicial Circuit in and for Broward County, State of Florida, personally came
        Detective JT Williams of the Sandv Springs Police Department and Co-Affiant Detective Walter
        Foster CCN# 11485 of the Broward Sheriff's Office who after being first duly sworn deposes and says:

               THAT he, Detective Walter Foster is a duly and lawfully appointed Deputy Shedff for the Broward
        County Shedffs Office, County of Broward, State of Florida, and has all the powers and duties of a law
n   (    nforcen1ent ofiicer in and for the County of Broward, State of Florida.

               THAT he has probable cause to believe, and does believe that in the premises described:

        2916 Hidden Harbour Court, Fort Lauderdale, Broward County, Florida 33312 is a residence
        (hereafter referred to as "the residence"). The residence is located in the subdivision called The Oaks
        at Hidden Harbour. The entrance to the subdivision is located near the intersection of SW 30th
        Avenue and SW 45th Street, in Fort Lauderdale, Florida. The residence is an attached townhouse/
        condominium style home. The residence is the last residence attached to the first structure
        encountered when entering the subdivision on Hidden Harbour Court. The residence is on the south
        side of Hidden Harbour Court, with the main (front) entrance of the residence facing north. The
        residence has two stories, with white exterior walls, and a red barrel tile roof. The residence is
        attached to other homes on the west side of the residence, and on the east side is a small walled
        courtyard. In the front of the residence is a two car driveway leading to a two car garage, with a light
        green garage door. Immediately to the east of the garage door is a small brown placard, attached to
        the exterior wall of the residence, with "2916" visible on the placard from the street. To the west of
        the garage door is a nan·ow staim•ay which leads to the main entrance of the residence, this door is
        also light green. There is a sliding glass door and a small balcony on the second floor above the garage
        door.


              THAT a felony has been committed, to wit: Murder in the First degree, contrary to F.S. 782.04-1 al.
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                                                                                                               FCDA239
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0     GENERAL AFFIDAVIT AND APPLICATION
      FOR SEARCH WARRANT

              THAT the following property may be found therein, to wit:


     Any records and/or data for the business's of "Luxury Lineup" and "Regency Auto Sales & Leasing"
     pertaining to the rental and/or lease of vehicles or pertaining to monetary payments made to or from
     the business's to suspected codefendants and/or outside entities who were looking to obtain and/or did
     obtain tracking information on the clients of the business as well. Also, any records and/or data for or
     from GPS Tracker company iMetrik, 740 Notre Dame Street West, suite 1575, Montreal Quebec,
     Canada, H3C3X6 pertaining to the lease, contract, registration, and/or GPS tracking records for the
     following vehicle: white 2012 Audi A-7, VIN: WAUSGAFC1CN003893, GA Tag BZJ-7321.

     "Records" includes any and all papers, documents and electronic storage devices such as cell phones,
     jump drives, external hard drives and computers that may have the information and/or data listed
     contained therein.


             YOUR AFFJANT believes and has probable cause to believe that th!! aforesaid property may be
     found on, or in the described premises for the following reasons:


nl           Your Affiant has been a duly sworn law enforcement officer for approximately 17 years in the State
     Jf Georgia. Your Affiant started with the Fulton County(GA) Police Department in 1996 as a unifom1ed
     Patrol Officer. In 2006, Your Affiant started with the Sandy Springs(GA) Police Department as a Detective
     with the Crime suppression Unit. From 6/07 to 9/08, Affiant worked street level Drug Investigations and
     crime suppression details involving Theft/Burglary rings, Organized Crime, Robbery and Homicide
     Investigations.

             In 9/08, your Affiant transferred to the Major Case Division and during this time, your Affiant has
     investigated and/or been associated with investigations pertaining to Property Crimes and Crimes Against
     Person, specifically, Homicide, Aggravated Assaults/Battery and Robbery.

            On 617112 at approximately 6:39 pm, the Sandy Springs(GA) Police Department(SSPD) responded
     to a person shot call at the Northside Hospital located at 1000 Johnson Ferry Rd., Sandy Springs, Fulton
     County, Georgia, 30342. Responding officers were advised that the shooting occurred in the North Parking
     Deck on the Hospital property. NOTE: The parking deck is a secured, controlled access deck and requires
     the operator of the vehicle to obtain a parking ticket before the security arm is raised to allow access.

             Upon arrival, responded officer's observed medical personnel attending to a black male, later
     identified as Melvin Vernell III(herein refe1Ted to as the victim) on the ground, outside of a white 2012 Audi
     A-7, GA Tag BZJ-7321, VIN: WAUSGAFCl CN00389(herein referred to as the Audi). The Audi displayed
     multiple gunshot holes through the rear window along with large amounts of blood on the driver's side of
     the vehicle.

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0          Your Affiant's investigation revealed that the victim was renting the Audi he was shot and killed in
     from Mani Chulpayen(herein referred to as Chulpayen).                                                ~      {o I

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     GENERALAFFIDAVIT AND APPLICATION
     FOR SEA,RCH WARRANT


            On 10/24/12, your Affiant met with Chulpayen and was told by Chulpayen that there is a GPS
    traclcing device installed within the vehicle. 9hulpayen told your A:ffiant that he has GPS trackers installed
    in all of his rental vehicles so he knows where his cars are at all times in the event the lease defaults on its
    payments. Chulpayen confirmed for your Affiant that the victim was renting the Audi from his business,
    Regency Auto Sales & Leasing at the time of the Homicide. NOTE: The business was located at 3000
    Stirling Road, Hollywood, Florida, 33021.

           Also on 10/24/12, Chulpayen told your A:ffiant that one or two days before the Homicide( 6/5/12 or
    6/6/12), a subject by the name of Decensae WhiteQ1erein referred to as White) met with Chulpayen and
    asked Chulpayen to locate the Audi for White.

          Chulpayen told your Affiant that he manually logged into the GPS tracking system and provided
    White with the coordinates of the Audi, which showed the Audi to be at 6050 Peachtree Industrial
    Boulevard, Norcross, Georgia 30360. The victim was subsequently shot and killed on 6/7/12.

           Chulpayen told your A:ffiant that he is the only one authorized to log into the server and locate his
    vehicles via his GPS tracking system. Chulpayen also tells your Affiant that the "locate" has to be done
    manually and the program keeps a record of all log-ins when a "locate" is requested.

           After the Homicide, Chulpayen moved his business to 1944 Tigertail Boulevard, Dania Beach,
    ~lorida, 33004. Chulpayen told your Affiant that he now operates his business UJ.Jder the nan1e of Luxury
    Lineup.

             On 2127/13, Fulton CoUJ.Jty Superior Court Judge, Barry Zimmennan, signed a Superior Court search
    warrant for the Audi for evidence including any GPS traclcing devices, the parlcing ticket obtained by the
    victim as he entered the parking deck and any papers that pertained to the rental agreen1ent or vehicle
    registration. NOTE: Your A:ffiant learned from a Source of Information, that Chulpayen uses iMetrik
    traclcing devices in his vehicles and that Chulpayen has at least two trackers in the vehicles.

           On 2/28/13, at approximately 1 :30 pm, SSPD Detectives went to the A TOW impound lot located at
    11412 North Fulton Industrial Boulevard, Alpharetta, Georgia, 30004, to serve the search warrant on the
    Audi. The Audi was housed within a secured facility on A TOW property.

           During the course of the search, Detectives located two iMetrik G.P.S. Tracking devices.' One
    Tracker was located in the dashboard to the left of the steering wheel. The other Tracker was located behind
    the passenger side glove box. Both Trackers were hard· wired into the vehicles power source. Also located
    was the parking ticket shoVlfog the entry time of entry into the parking deck along with a rental agreement.
    NOTE: TI1e parking ticket showed an entry time of 3:41 pm on 6/7112. The rental agreement was for the
    Audi between the Owner: Regency Leasing and User: Melvin Vernell III.

           Tue GPS trackers were videotaped and photographed upon discovery and then again during their
    removal from the vehicle. Detectives were also able to confinn that both Trackers were iMellik Trackers.
    Each u·acker contained a separate se1ial number, serial nUJnbers as follows: VI I I 5000061 and
0   Vl 121301-129.



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0     GENERAL AFFIDAVIT AND APPLICATION
      ROR SEARCH WARRANT

            iMetrik is a Canadian based company located    ~t   740 Notre Dan1e Street West, suite 1575, Montreal
      Quebec, Canada, H3C3X6.

            Your Affiant took custody of the two trackers, the rental agreement and the parking ticket as
     evidence and transported the evidence to the Sandy Springs Police Department's evidence room.

              On 3/5/13, SSPD Detectives contacted iMetrik asking for assistance with obtaining any information
     that is saved on the iMetrik server pe11aining to these two devices. The iMetrik representative advised that
     on 6/7/12, Tracker Vll2!301129 was assigned to an Audi A7 and the Audi showed to be utilized by Mel
     Regency Jr.

             The representative also advised Detectives that Tracker Vl 121301129 was accessed seven tin1es on
     6/6/12 and 14 times on 6/7/12, the day of the Homicide. 111e representative also advised that it looked as if
     the user of the account attempted to and/or did purge data from the server pertaining to this tracker.

            On 3/14/13, Detectives with the assistance of the Drug Enforcement Admirristration (DEA) Ottawa,
     Canada office served iMetrik with a subpoena requesting the infornmtion pertaining to Tracker
     VI 121301129.

             On 3/24113, Detectives received the following infornmtion from iMetrik pertaining to Tracker

n(   VI 121301129: Chulpayen's email address, usernarne and password were used to conduct the commands
      '1at were used to locate white Audi on 616112 and 6/7/12. T'he history of the "commands to track" the Audi
     begins on 5/19/12 through 6/11112.

              On 4/5113, Agents from DEA Mian1i HIDTA 42 and DEA Atlanta HIDTA Group 3 irritiated
     surveillance at 2916 Hidden Harbour Com1, Broward County, Fort Lauderdale, Florida, 33312. 111is address
     is listed on the subscriber information for Chulpayen's AT&T cellphone.

           At approximately 8:45 an1, Agents observed Chulpayen leaving the location driving a blue 2010
     Rolls Royce, FL Tag SAK39. Registered Owner: Birch Capital Inc., 888 E. Las Olas Blvd., Fort
     Lauderdale, Florida.

            At approximately 9:34 am, Agents observed Chulpayen arriving at Luxury Lineup located at 1944
     Tigertail Boulevard, Broward County, Dania Beach Florida, 33004. Chulpayen was observed entering the
     business caizying an attach6 case.

             Continued cellsite analysis of Chulpayen's phone shows that Chulpayen constantly utilizes the cell
     tower in the area of the residence and the business.

            On 4/12113, this case is going to be presented to the Fulton Com1ty Grand Jury with the anticipation
     that Marri Chulpayen along with four other co-defendants are going to be directly indicted for Murder,
     Aggravated Assault, Gang Violations and firearm charges.


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         GENERAL AFFIDAVIT AND APPLICATION
         !<'QR SEARCH WARRANT



                 Your Affiant is respectfully requesting that a search wammt be granted for the listed location as it
         will greatly assist in this murder investigation by showing the link between the victim's Audi being tracked
         by Chulpayen through the GPS trackers from ilv[e!Jik, and that tracking information, once obtained by
         Chulpayen, being passed on to White and the co-defendants who then were able to locate the victim and
         murder him.




                 WHEREFORE; YOUR AFFIANTS hereby make application for a Search WruTant authorizing the
         Sheriff and/or Deputy Sheriff's of Broward County, State of Florida, with proper and necessary assistance,
         to search the aforesaid described premises in the daytin1e/nighttime, or on Sunday, to search those on the
         scene who shall be suspected of being connected with violation of the law as heretofore stated above, and to
         seize any and all of the aforesaid property foUlld by virtue of such Search WruTant ru1d to bring the said
         property ru1d/or person (s) an·ested before me, the Magistrate, or some other court having jurisdiction of the
         offense.




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         Sandy
                     (Detective JT Williams)
                    ings Police Department (Georgia)
                                                                        CO-AFFIANT (Detective Vi1alter Foster)
                                                                        Broward County Sheriff's Office




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